                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             DOCKET NO. 3:07CR00079-W

UNITED STATES OF AMERICA             )
                                     )
              v.                     )
                                     )                         ORDER
JUAN GARZA,                          )
                                     )
                  Defendant.         )
_____________________________________)

       THIS MATTER is before the Court upon the Defendant’s “Motion for Appointment of
Interpreter” (document #70) filed July 23, 2007, seeking the appointment of Ms. Jaclyn S. Gonzalez
to assist him in representing the Defendant.
       Pursuant to 18 U.S.C. §3006(A)(e), the Court shall authorize counsel to obtain investigative,
expert, or other services whenever it is determined that such services are necessary for adequate
representation and that the person is financially unable to obtain them.
       For the reasons set forth in said Motion, the Court finds such services are necessary for
adequate representation and that the person is financially unable to obtain them.
       IT IS THEREFORE ORDERED:
       1. Ms. Jaclyn S. Gonzalez, P.O. Box 6111, Gastonia, NC 28056, is appointed interpreter in
the above case.
       2. The Clerk shall prepare Form CJA 21 appointing Ms. Jaclyn S. Gonzalez as interpreter and
mail the form to defense counsel for his signature and for delivery to the interpreter;
       3. Compensation for these services shall not exceed $1,600.00 (18 USC §3006A(e)(3));
       4. The Clerk is directed to send a copy of this Order to defense counsel.
       IT IS SO ORDERED.
                                                 Signed: November 6, 2007




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